                             UNITED STATES DISTRICT COURT
                          WESTERN DISTRICT OF NORTH CAROLINA
                                 CHARLOTTE DIVISION

                                     DOCKET NO. 3:09cr39-FDW


UNITED STATES OF AMERICA,                          )
                                                   )
                        Plaintiff,                 )
                                                   )
                v.                                 )     FINAL ORDER AND JUDGMENT
                                                   )       CONFIRMING FORFEITURE
(1) JASON DENNYION CAMPBELL,                       )
                                                   )
                        Defendant.                 )
                                                   )

        On October 9, 2009, this Court entered a Preliminary Order of Forfeiture pursuant to 21

U.S.C. §853 and Fed. R. Crim. P. 32(d)(2), based upon the Defendant’s plea of guilty to Counts One,

Ten, Eleven, Nineteen and Twenty-six in the First Superseding Bill of Indictment; and was adjudged

guilty of the offenses charged in those counts. Based on the plea agreement stipulations, Defendant

has agreed to forfeit specific property as described below.

        On December 1, 2009 through December 30, 2009, the United States published via

www.forfeiture.gov, notice of this forfeiture and of the intent of the government to dispose of the

forfeited property according to law, and further notifying all third parties of their right to petition the

Court within sixty days from December 1, 2009 for a hearing to adjudicate the validity of any alleged

legal interest in the property. It appears from the record that no such petitions have been filed. Based

on the record in this case, including the defendant’s plea of guilty, the Court finds, in accordance

with Rule 32.2(c)(2), that the Defendant had an interest in the property that is forfeitable under the

applicable statute.

        It is therefore ORDERED:



       Case 3:09-cr-00039-FDW             Document 334          Filed 02/10/10       Page 1 of 2
        In accordance with Rule 32.2(c)(2), the Preliminary Order of Forfeiture is confirmed as final.

All right, title, and interest in the following property, whether real, personal, or mixed, has therefore

been forfeited to the United States for disposition according to law:

        One Taurus .357 revolver, serial number ZC33580 and ammunition;

        One .12 gauge Mossberg Shotgun, Model 500A, serial number J904283 and
        ammunition;

        One .45 Smith and Wesson, semi-automatic pistol, Model 457, serial number VUV9484
        and ammunition;

        One .40 Sig Sauer, semi-automatic pistol, Model P239, serial number SA4-131528 and
        ammunition;

        One .9mm Glock semi-automatic pistol, Model 19, serial number AKL297S and
        ammunition;

        One .40 caliber Glock semi-automatic pistol, model 22, serial number CUP736US and
        ammunition;

        One Norinco MAK90 7.62 caliber semi-automatic rifle, serial number 9327881 and
        ammunition;

        One Colt .357 Python revolver serial number K91186 and ammunition;

        One Entreprise Arms Model STG58C, .308 caliber semi-automatic assault rifle, serial
        number KR3327 and ammunition; and

        One JLD Enterprise Model PTR-91 .308 caliber semi-automatic assault rifle and
        ammunition. Ruger .22 caliber revolver and ammunition.

                                                   Signed: February 10, 2010




                                                   2



       Case 3:09-cr-00039-FDW            Document 334          Filed 02/10/10      Page 2 of 2
